               Case 6:20-bk-10759-WJ                  Doc 60 Filed 11/22/21 Entered 11/22/21 11:37:22                                     Desc
                                                       Main Document    Page 1 of 2
                                                                                                     FOR COURT USE ONLY
     ROD DANIELSON, Chapter 13 Trustee
     3787 University Avenue
     Riverside, CA 92501-3332
     (951) 826-8000 FAX (951) 826-8090




     [X Chapter 13 Trustee


                   UNITED STATES BANKRUPTCY COURT                                                      Chapter: 13
                    CENTRAL DISTRICT OF CALIFORNIA
                                                                                                       Case Number 6:20-bk-10759-WJ
     In re:     TOMASO GIANNELLI
                MELANIE GIANNELLI

                                                                                                                  (No Hearing Required)


                                                                                      Debtor(s)


       TRUSTEE'S COMMENTS ON OR OBJECTION TO MOTION TO SELL REAL PROPERTY AT:

     The undersigned Chapter 13 Trustee, having reviewed the Motion filed 1/19/2021 as docket entry number
     58, recommends

     [X       APPROVED ON THE FOLLOWING CONDITIONS
              (A) Immediately upon close of escrow debtor shall provide the Trustee with a final closing statement
              showing all liens paid off through escrow so Trustee can stop payments on the claim(s),
              (B) Escrow is instructed to turn over excess sales proceeds, if any, to the Trustee in the amount
              specific in the Trustee's demand to escrow. The balance of any proceeds in excess of the Trustee's
              demand may be paid to the debtor(s),
              (C) All lienholders consent to the terms of the sale, and the voluntary release of their liens even
              though the amounts owed under the applicable debt instruments may not be fully paid
              (D) The Trustee is authorized to take his statutory fee on secured and priority debts paid through
              escrow.

     TRUSTEE'S COMMENTS: Escrow is instructed to turn over $124,000 to the Chapter 13 Trustee for the
     benefit of creditors.



     Dated: November 22, 2021
                                                                                                   Rod Danielson, Chapter 13 Trustee




                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California

FG131-11/22/2021- BK
June 2012
              Case 6:20-bk-10759-WJ                   Doc 60 Filed 11/22/21 Entered 11/22/21 11:37:22                                     Desc
                                                       Main Document    Page 2 of 2
     In re·     TOMASO GIANNELLI
                                                                                                       Chapter: 13
                MELANIE GIANNELLI
                                                                                      Debtor(s)        Case Number        6:20-bk-10759-/J


                                              PROOF OF SERVICE OF DOCUMENT
    I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 3787
    University Avenue, Riverside, CA 92501

    A true and correct copy of the foregoing document entted. TRUSTEE'S COMMENTS ON OR OBJECTION TO MOTION
    TO SELL REAL PROPERTY will be served or was served (a) on the judge in chambers in the form and manner required
    by LBR 5005-2(); and (b) in the manner indicated below.

    1. IO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEE - Pursuant to controlling General
    Orders LBR, the foregoing document will be served by the court via NEF and hyperlink to the document.
    On 11/22/2021. I checked the CMIECF docket for this bankruptcy case or adversary proceeding and determined that the
    following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
    julie@oaktreelaw.com

                                                                         [ Service Information continued on attached page
   2. SERVED BY UNITED STATES MAL:
   On 11/22/2021, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
   adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
   postage prepaid, and addressed as follows. Listing the judge here contitutes a declaration that mailing to the judge will be
   completed no later than 24 hours after the document is filed

   Debtor
   TOMASO GIANNELLI
   MELANIE GIANNELLI
   13170 LONG MEADOW ST
   HESPERIA. CA 92344

                                                                                         [     Service Information continued on attached page

   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL. FACSIMILE TRANSMISSION OR EMAIL (state method
   for each person or entity served) Pursuant to FR.Ci.P.5 and/or controlling LBR, on 11/22/2021. I served the following
   persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
   method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
   delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed

   HONORABLE WAYNE E. JOHNSON
   3420 TWELFTH STREET
   COURTROOM 304
   RIVERSIDE, CA 92501-3819

                                                                                         [      Service Information continued on attached page

   I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct



              1112212021                                      Susan Jones
                 Date                                         Type Name




                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California

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June 2012
                                                                                                        F 9013-3.1.PROOF.SERVICE
